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                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF DELAWARE

                                                             :
    In re:                                                   :        Chapter 11
                                                             :
    CRAFTWORKS PARENT, LLC, et al.,                          :        Case No. 20-10475 (BLS)
                                                             :
              Debtors. 1                                     :        Jointly Administered
                                                             :
                                                             :        Re: Docket Nos. 336 & 540

              SUPPLEMENT TO ORDER (I) AUTHORIZING AND APPROVING
              SEMI-PRIVATE SALE OF DEBTORS’ ASSETS FREE AND CLEAR
           OF ALL LIENS, CLAIMS, ENCUMBRANCES AND OTHER INTERESTS;
         (II) AUTHORIZING AND APPROVING ASSUMPTION AND ASSIGNMENT
            OF CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               RELATED THERETO; AND (III) GRANTING RELATED RELIEF

             Upon consideration of the cure amounts with respect to the assumption and assignment of

certain executory contracts and unexpired leases pursuant to the Debtors’ Motion For An Order

(I) Authorizing And Approving Semi-Private Sale Of Debtors’ Assets Free And Clear Of All Liens,

Claims, Encumbrances, And Other Interests; (II) Authorizing And Approving Assumption And

Assignment Of Certain Executory Contracts And Unexpired Leases Related Thereto; And (III)




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      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number are: Big River Breweries, Inc. (6292); Brew Moon Colorado, Inc. (5001); Chophouse License, LLC
      (2340); Craft Brewery Holding, Inc. (1228); CraftWorks Holdings, LLC (7163); CraftWorks Intermediate Co,
      LLC (9810); CraftWorks Parent, LLC (3345); CraftWorks Restaurants & Breweries Group, Inc. (4820);
      CraftWorks Restaurants & Breweries, Inc. (2504); CraftWorks Restaurants & Breweries, LLC (0676); GB
      Acquisition, Inc. (5175); GB Franchise, LLC (7716); GB Kansas, LLC (0924); GB Maryland, Inc. (6439); GB
      Parent, Inc. (1281); GBBR Texas, Inc. (9904); Gordon Biersch Brewery Restaurant Group, Inc. (8023); Harbor
      East Brewery, LLC (7759); Logan’s Restaurants, Inc. (9987); Logan’s Roadhouse, Inc. (2074); Logan’s
      Roadhouse of Kansas, Inc. (8716); Logan’s Roadhouse of Texas, Inc. (2372); LRI Holdings, Inc. (4571); Old
      Chicago Franchising LLC (7249); Old Chicago of Colorado, Inc. (4857); Old Chicago of Kansas, Inc. (0606);
      Old Chicago Oregon, LLC (5083); Old Chicago Parker Crossing, Inc. (9218); Old Chicago Taproom, LLC
      (5838); Old Chicago Westminster, Inc. (5759); Roadhouse Intermediate Inc. (6159); Roadhouse Midco Inc.
      (6337); Roadhouse Parent Inc. (5108); Rock Bottom Arizona, Inc. (4848); Rock Bottom License, LLC (9033);
      Rock Bottom of Minneapolis, Inc. (5762); Wadsworth Old Chicago, Inc. (4849); Walnut Brewery, Inc. (7405).
      The Debtors’ mailing address is 2981 Sidco Drive, Nashville, TN 37204.




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Granting Related Relief [Docket No. 336] (the “Motion”) 2 filed by the above-captioned debtors

and debtors in possession (the “Debtors”);

        WHEREAS on May 25, 2020, the Court entered the Order (I) Authorizing And Approving

Semi-Private Sale Of Debtors’ Assets Free And Clear Of All Liens, Claims, Encumbrances, And

Other Interests; (II) Authorizing And Approving Assumption And Assignment Of Certain

Executory Contracts And Unexpired Leases Related Thereto; And (III) Granting Related Relief

[Docket No. 540] (the “Sale Order”); and

        WHEREAS, the Sale Motion with respect to certain counterparties to proposed Assumed

Contracts who had unresolved objections to Cure Amounts (the “Continued Counterparties”) was

continued to May 28, 2020; and

        WHEREAS, the Debtors and certain of the Continued Counterparties have resolved their

respective Cure Amounts as set forth on Exhibit A attached hereto (the “Supplemental Assumed

Contracts”); and

        WHEREAS the Supplemental Assumed Contracts may be assumed by the Debtors and

assigned, transferred, and sold to the Buyer;

        IT HEREBY IS FOUND AND DETERMINED THAT

        1.       Pursuant to section 365 of the Bankruptcy Code, the Debtors are authorized to

assume the Supplemental Assumed Contracts and assign, transfer, and sell the Debtors’ interests

in the Supplemental Assumed Contracts to the Buyer; provided, that, to the extent set forth in the

APA, the Buyer shall be required to pay the Cure Amounts as set forth on Exhibit A hereto as a

condition to such assignment.




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    Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.




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        2.       Except as set forth in paragraph 1 hereof and on Exhibit A, the Sale Order shall be

applicable to the Supplemental Assumed Contracts.

        3.       The Buyer and the Sellers have agreed to amend the Designation Rights Period to

provide that it ends on June 30, 2020 (and not June 15, 2020) and all references to such term in the

Sale Order shall refer to such defined term as modified.

        4.       Notwithstanding anything to the contrary in the Sale Order, or any Notice related

thereto: (a) the Cigna ASO Agreement (as defined in the Objection of Cigna to Motion for an

Order (I) Authorizing and Approving Semi-Private Sale of Debtors’ Assets Free and Clear of All

Liens, Claims, Encumbrances, and Other Interests; (II) Authorizing and Approving Assumption

and Assignment of Certain Executory Contracts and Unexpired Leases Related Thereto; and (III)

Granting Related Relief [Docket No. 454] (the “Cigna Objection”)) is assumed and assigned to

the Buyer as of the Closing Date, and, in lieu of cure, all obligations due and unpaid under the

ASO Agreement shall pass through to the Buyer and survive assumption and assignment so that

nothing in this Order, the Sale Order, or section 365 of the Bankruptcy Code shall affect the

obligations accruing under the ASO Agreement; (b) upon Closing, the Debtors shall transfer to the

Buyer, the Debtors’ segregated bank account at JPMorganChase, Account No. XXXXXX9224,

held in the name of Debtor CraftWorks Holdings, LLC (“Plan Bank Account”) through which

eligible healthcare claims of the Debtors’ employees and their dependents (“Benefits Claims”) are

funded under the ASO Agreement; and (c) immediately following Closing, employee healthcare

claims coverage under the ASO Agreement shall be deemed terminated (“Termination Date”),

with the Buyer electing to provide for Benefits Claims incurred, but not submitted, processed, and

paid prior to the Termination Date (“Run-Out Claims”), to be processed by Cigna and paid for a

twelve (12) month period following the Termination Date, with the Buyer funding the payment of




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Run-Out Claims through the Plan Bank Account during that period in accordance with the ASO

Agreement. This fully resolves the Cigna Objection.

        5.       Notwithstanding the provisions of Bankruptcy Rules 6004(h) and 6006(d), this

Order shall be effective and enforceable immediately and shall not be stayed.

        6.       This Court shall retain exclusive jurisdiction to resolve any controversy or claim

arising out of or related to this Order, the Sale Order, the APA, or any related agreements,

including: (a) any actual or alleged breach or violation of this Order, the Sale Order, the APA, or

any related agreements, (b) the enforcement of any relief granted in this Order or the Sale Order,

and (c) as otherwise set forth in the APA.




Dated: June 1st, 2020 Wilmington,            BRENDAN L. SHANNON UNITED STATES BANKRUPTCY
Delaware                                     JUDGE




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